Sent:    Thur 12/8/2022 5:52:34 PM (UTC)
From: Otto
         OttoJan      Case 3:20-cv-05671-JD Document 623-81
                   (Google)
              Jan (Google)         Otto Jan (Google)
                                                              Filed 12/21/23 Page 1 of 1
To:      DivyaJan
         Otto  Chandra (Google), Otto ,Jan
                  (Google)                 (Google)
                                        Otto Jan (Google)
Subject: ITAOCEAAAAE-MBI-FLAT:2022-12-07T22:52:33.612671


Otto Jan
Otto Jan (Google)
         (Google)        2022-12-08T17:52:33.612Z

 Sounds good!

Otto Jan (Google)        2022-12-08T17:52:36.138Z

 I'll keep Jan in mind

Divya
Otto JanChandra
         (Google)(Google)      2022-12-08T17:52:49.955Z

 I am on legal hold

OttoJan
Otto Jan(Google)
         (Google)        2022-12-08T17:52:56.632Z

(making a note via turning on history)

Divya
Otto JanChandra
         (Google)(Google)      2022-12-08T17:52:56.898Z

 Prefer to keep chat history off

OttoJan
Otto Jan(Google)
         (Google)        2022-12-08T17:53:01.560Z

 i'll turn off




                                                                                 EXHIBIT 6461
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                                                                                           EXHIBIT 6461-001
